Case 8:21-cv-02429-SDM-TGW Document 123 Filed 03/03/22 Page 1 of 3 PageID 8092




                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION

 NAVY SEAL # 1, et al.,

                            Plaintiffs,
                                                       Case No. 8:21-cv-02429-SDM-TGW
       v.

 JOSEPH R. BIDEN, JR., in his official
 capacity as President of the United States, et al.,

                            Defendants.

                  DEFENDANTS’ NOTICE OF EXTENSION OF
                          DEADLINE FOR COMPLIANCE
       Defendants hereby inform the Court that Plaintiff United States Marine Corps

 (USMC) Captain’s orders to receive the vaccine have been extended for three weeks,

 up through and including March 24, 2022. As a result, there is no emergency, and

 the Court need not issue any ruling on the TRO pending full briefing of the motion

 for a preliminary injunction. Defendants respectfully request up through and

 including March 11, 2022, to respond to Plaintiff’s motion for a preliminary

 injunction, which should give the Court sufficient time to consider these issues before

 USMC Captain is required to receive his vaccination.

       On February 28, 2022, 3:43 p.m., in response to Defendants’ meet and confer

 regarding their emergency stay motion, Plaintiff’s counsel notified Defendants’

 counsel that they would be seeking emergency relief later in the week as to some

 plaintiffs in the above captioned case. Plaintiff’s counsel did not inform Defendants’


                                             1
Case 8:21-cv-02429-SDM-TGW Document 123 Filed 03/03/22 Page 2 of 3 PageID 8093




 counsel of the specific plaintiffs that would be seeking relief or the type of relief they

 would be seeking. On March 2, 2022, Plaintiff filed an Emergency Motion for a

 Temporary Restraining Order and supporting declarations. Doc. 121. Plaintiffs’

 counsel did not inform Defendants’ counsel of the specific plaintiff who was seeking

 relief until March 2, 2022, 11:15 a.m. and demanded a reply by 1:00 p.m. Given less

 than two hours, it was not possible for Defendants to investigate Plaintiff’s

 allegations or to determine whether an extension of USMC Captain’s deadline was

 possible. Defendants’ counsel notified Plaintiff’s counsel that they would inquire if

 Plaintiff’s command was willing to extend Plaintiff’s compliance deadline to allow

 for full briefing on a motion for preliminary injunction and asked if they would be

 willing to wait one day before filing their motion. Plaintiff declined. With the

 benefit of a day, Defendants are now able to confirm that USMC Captain’s deadline

 for compliance will be extended for three weeks.

        Because Plaintiff’s compliance deadline has been extended there is no danger

 of imminent separation or other discipline. Moreover, even if such processes were to

 be initiated following expiration of Plaintiff’s new compliance date such process

 typically takes many months, and are not accurately described in Plaintiff’s

 submissions. See Furness Decl. ¶¶ 14-23, ECF No. 23-19 (Marines process).

 Accordingly, there is no threat of imminent or irreparable harm to Plaintiff, which

 Plaintiff must establish to be entitled to an immediate restraining order or that would

 necessitate a more truncated briefing schedule than Defendants propose.



                                              2
Case 8:21-cv-02429-SDM-TGW Document 123 Filed 03/03/22 Page 3 of 3 PageID 8094




 Dated: March 3, 2022                  Respectfully submitted,

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                                       3
